Case 2:10-md-02179-CJB-DPC Document 4457-8 Filed 11/01/11 Page 1 of 2

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG MDL No. 2179
“DEEPWATER HORIZON” IN THE GULF OF

MEXICO, ON APRIL 20, 2010 SECTION J

IN RE: THE COMPLAINT AND

PETITION OF TRITON ASSET JUDGE BARBIER

LEASING GMBH, ET AL. IN A
CAUSE OF EXONERATION FROM
OR LIMITATION OF LIABILITY

MAGISTRATE JUDGE SHUSHAN

This Document Relates To:

All cases and No.: 2-10-cv-2771 and No.
2:10-cv-04536-CJB-SS (United States v. BP
Exploration & Production Inc., et al.)

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AFFIDAVIT OF TIM KELLER

THE STATE OF TEXAS)

)
COUNTY OF HARRIS )

BEFORE ME, the undersigned authority, on this day personally appeared Tim Keller
who being duly sworn deposed on his oath as follows:

L My name is Tim Keller. I am more than twenty-one years old, I have
never been convicted of a crime involving moral turpitude, and I am competent to
provide this affidavit. All facts in this affidavit are true, correct, and within my
personal knowledge.

2. I am the North America Division Assistant Controller for Transocean. My
office at Transocean is located at Park Ten Centre, 1311 Broadfield Blvd., Suite
400, Houston, Texas 77084.

a As October 27, 2011, I obtained knowledge of the invoices and accounts
receivable aging report attached Appendix A-41 to Transocean’s Motion for
Partial Summary Judgment, , and incorporated herein by reference, specifically
Invoice Nos.: 00014-00011482; 00014-00011504; 00014-00011506; 00014-
00011509; 00014-00011510; 00014-00011535; 00014-00011536; 00014-
00011538; 00014-00011547; 00014-00011561. In addition, I obtained
knowledge of the information contained within this affidavit.

4, The preparation and issuance of these invoices and aging report is within

the regular course of Transocean’s business, and it is the regular practice of
Transocean for an employee or representative with knowledge of the financial

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Case 2:10-md-02179-CJB-DPC Document 4457-8 Filed 11/01/11 Page 2 of 2

obligation to make or transmit information to be included in these records. The
records were made at or near that time or reasonably soon thereafter.

3 True and correct copies of these invoices are attached as appendices to
Transocean’s Motion for Partial Summary Judgment.

6. At the time of the execution of this affidavit, the amounts reflected in the
invoice are due and unpaid.

EXECUTED on this the 21 “aay of October, 2011.

FURTHER, AFFIANT SAYETH NOT.

ef mm Le—

Tim Keller

4th
SWORN AND SUBSCRIBED TO BEFORE ME on this theo ee of October, 2011.

Gori, L Gitthiu dh,

Notary Public in and for the
STATE OF TEXAS

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